                             U.S. DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


                               IMPORTANT NOTICE

              ATTORNEYS REQUIRED TO FILE ELECTRONICALLY


     Unless specifically exempted, all documents submitted by members of the bar of
     this district, as well by attorneys admitted pro hac vice, shall be filed in
     accordance with the district's Administrative Procedures for Electronic Case
     Filing (“ECF”). For attorneys, that means that while some limited documents will
     still be filed in paper format, the vast majority of all future pleadings must be
     submitted electronically using the court’s Electronic Case Filing (ECF) system
     (including cases involving pro se parties). Pro se litigants, however, are not
     required to file electronically and may continue to file documents in paper format.

     The District of New Hampshire is a NextGen CM/ECF court, which means
     attorneys use their individual PACER accounts to file documents in this district
     Section 6.1 of the Administrative Procedures for ECF requires that attorneys
     appearing in an ECF case must request access to the court’s ECF system
     through PACER. However, attorneys who filed in this district prior to November
     12, 2019 must instead link their individual PACER account with their legacy ECF
     account.

     For more information on NextGen CM/ECF visit the court’s website.

     NOTICE TO PLAINTIFF: You are instructed to serve a copy of this notice on
     all parties in this case along with the complaint.


                                              DANIEL J. LYNCH
                                              Clerk




USDCNH-91 (Rev. 12-19)
